            Case 1:21-cr-00357-CRC Document 26 Filed 05/13/21 Page 1 of 2




                               UNITED STATES DISTRICT
                              COURT FOR THE DISTRICT OF
                                     COLUMBIA

UNITED STATES OF AMERICA                                   CRIMINAL NO.

       v.
                                                           VIOLATIONS:
JOSEPH CASTEN,
                                                           18 U.S.C. § 2252A(a)(5)(B)
              Defendant                                    (Possession of Child Pornography)


                                         INFORMATION

         The United States Attorney charges that:

                                         COUNT ONE

            Between the dates of October 2013 and November 7, 2017, in the District of Columbia,

 the defendant, JOSEPH CASTEN, knowingly possessed one or more computer hard drives, cell

 phones, cameras, DVDs, magazines, periodicals, and other material which contained child

 pornography, as defined in Title 18, United States Code, Section 2256(8), including but not limited

 to visual depictions of real minors, prepubescent minors and minors who had not attained twelve

 (12) years of age, engaged in sexually explicit conduct, that had been shipped and transported using

 any means and facility of interstate and foreign commerce, had been shipped and/or transported in

 and affecting interstate and foreign commerce, and were produced using materials that have been

 mailed, shipped and transported in and affecting interstate and foreign commerce by any means, in

 violation of Title 18, United States Code, Section 2252A(a)(5)(B).

            (Possession of Child Pornography, in violation of Title 18, United States

  Code, Section 2252A(a)(5)(B))
Case 1:21-cr-00357-CRC Document 26 Filed 05/13/21 Page 2 of 2




                      CHANNING D. PHILLIPS
                      Acting United States Attorney
                      D.C. Bar 4157


                      /s// April N. Russo
                      ________________________
                     April Nicole Russo
                     Assistant United States Attorney,
                     PA Bar Number 313475
                     U.S. Attorney's Office
                     555 4th Street, N.W.
                     Washington, D.C.
                     202-252-1717
                     April.russo@usdoj.gov
